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                             UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF MARYLAND



 ASSOCIATION FOR EDUCATION                            Civil Action No. 8:20-cv-02540-PX
 FAIRNESS,

                                         Plaintiff,

                        v.

 MONTGOMERY COUNTY BOARD OF
 EDUCATION, et al.,

                                     Defendants.



                    [PROPOSED] ORDER GRANTING PLAINTIFF’S
                      MOTION FOR RELIEF FROM JUDGMENT

       Plaintiff Association For Education Fairness (AFEF) has filed a motion for relief from the

Court’s July 29, 2022 Memorandum Opinion and Order (ECF Nos. 99, 100) granting Defendants’

motion to dismiss. Upon consideration of AFEF’s motion for relief, it is hereby ORDERED that

that the motion is GRANTED.

       IT IS SO ORDERED.




DATED: _________________________                            ______________________________
                                                            Hon. Paula Xinis
                                                            United States District Judge




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